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          SUPREME COURT OF THE STATE OF NEW YORK
          COUNTY OF NEW YORK

          PEOPLE OF THE STATE OF NEW YORK,
          by LETITIA JAMES, Attorney General of the State of
          New York,
                                                                           VERIFIED PETITION
                                  Petitioner,
                                                                           Index No. ___________
                 - against -

          DAILYPAY, INC.,

                                   Respondent.



                 Petitioner People of the State of New York, by Letitia James, Attorney General of the State

          of New York (the “OAG”), as and for her Verified Petition, respectfully avers:

                                                 INTRODUCTION

                 1.      Beginning when it was still just a colony, decades before declaring Independence,

          New York adopted usury legislation to protect its most vulnerable residents from high-cost lending

          that preys on economic fragility and weakened bargaining positions. In the centuries that followed,

          strengthened prohibitions on usury have been enacted on multiple occasions, including laws that

          overrode judicially imposed usury limits and the addition of criminal penalties for usury, among

          other enhancements. This long and unbroken history reflects a clear declaration of public policy

          by New York’s legislature: lending at usurious rates, even where freely entered into, is financially

          unhealthy and destructive, and therefore is not permitted within the state of New York.

                 2.      Efforts by lenders to circumvent New York public policy are almost as old as the

          prohibition on high-cost lending itself. New York’s highest court “has recognized for more than a

          century that the economy changes” and that, as these changes occur, new opportunities come about

          for “lenders to extract unlawful interest rates through novel and increasingly sophisticated




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          instruments.” Adar Bays, LLC v. GeneSYS ID, Inc., 37 N.Y.3d 320, 342 (2021). Thus, the Court

          of Appeals instructs: “if the court can see that the real transaction was the loan or forbearance of

          money at usurious interest, its plain and imperative duty is to so declare.” Id. Embracing this call

          to action, New York courts have repeatedly applied usury prohibitions to loansharks, payday

          lenders, and others who exploit New Yorkers through illegal, abusive lending practices.

                 3.      This action concerns a modern, technology-driven attempt to evade New York’s

          usury laws. In the transactions at issue here, workers obtain small-dollar advances, usually for less

          than $100, and pay fees of $2.99 or $3.49, reflecting exorbitant and plainly usurious costs of credit.

          In exchange, workers agree to have their next paycheck deducted to cover all amounts owed before

          they receive the remaining balance. As collateral, they assign all rights and title to their wages

          owed and promise to not interfere with repayment. That assigned collateral also is secured by

          employers’ obligations to pay, supported by extensive credit underwriting regarding employers’

          ability to make payroll. This is secured lending, plain and simple—and usurious lending at that.

          Such activity contravenes centuries of New York law and policy, and it should be barred.

                                            *               *               *

                 4.      Respondent DailyPay, Inc. (“DailyPay” or “the Company”) is a New York-based

          payday lender that makes small-dollar, short-term, high-cost loans (each, a “Paycheck Advance”)

          to workers nationwide, including tens of thousands in New York. In a typical transaction, an

          employee obtains around $75 from DailyPay eight days before her payday; then, on payday,

          DailyPay deducts about $77.99 from her paycheck to recoup amounts lent plus $2.99, an

          annualized percentage rate, or APR, of nearly 200%. And the single most common loan—a seven-

          day, $20 Paycheck Advance for $2.99—reflects an APR above 750%. Through transactions like

          these, DailyPay has extracted tens of millions of dollars in fees from New Yorkers’ wages.



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                 5.      DailyPay reaches workers by first contracting with their employers, who agree to

          make the Company their exclusive lender and to tout DailyPay’s program as a benefit to their

          employees. Through these exclusive arrangements, DailyPay obtains real-time payroll data that

          the Company uses to offer Paycheck Advances in amounts that ensure that it will collect every

          dollar that it lends out and all fees that it charges. The Company also contracts with employers to

          send their workers’ paychecks directly to DailyPay on payday, from which the Company deducts

          all amounts it is owed before passing on any remaining balance to employees.

                 6.      DailyPay partners with employers to promote its Paycheck Advances, which the

          Company claims will provide workers financial freedom through the ability to obtain pay early—

          supposedly without interest. DailyPay’s marketing materials, which contrast its program with

          payday lending, tell employees to enroll and download the app for free. DailyPay also promotes

          employees’ ability to get money when needed, such as to cover unexpected expenses or bills, and

          regularly touts the Company’s on-demand Paycheck Advances without mentioning fees.

                 7.      DailyPay is what has come to be known as an “earned wage access” provider. The

          Company purports to offer hourly workers who are paid on fixed schedules “early access” to wages

          that have been “earned” during the pay period but not yet paid. Though terms may vary, these

          lenders all share certain characteristics: (i) they lend based on real-time payroll data or algorithmic

          estimates of future deposits; (ii) they charge transaction fees, charge more for loans with terms that

          begin immediately, or extract tips; and (iii) they carry on as though they are not making loans and

          not collecting interest because they say that they will not sue or engage in debt collection.

                 8.      These claims are false, DailyPay’s Paycheck Advances are loans, and its fees are

          interest. Though DailyPay promises that it will not sue or engage in debt collection, the Company

          has no need to do so. When an employee obtains a Paycheck Advance, she assigns wages to the



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          Company sufficient to repay her loan and all fees. DailyPay then employs layers of protection—

          extensive credit underwriting, direct recourse against employers, and employees’ obligations to

          assist in collection—to ensure a collections rate above 99.99%. Even the Company’s promise not

          to sue is illusory, as its loan agreements impose obligations on employees to repay DailyPay when

          employers pay workers directly or make payroll errors. Employees who fail to make these

          payments are in breach of their loan agreements, relieving DailyPay of its “no recourse” promise.

          Meanwhile, workers who obtain Paycheck Advances are saddled with outsized fees that do not

          correspond to DailyPay’s expenses and impose costs that are nearly always greater than 50% APR,

          including tens of thousands of Paycheck Advances with APRs in excess of 500%.

                 9.      DailyPay’s business model also is fundamentally abusive. The engine that drives

          DailyPay’s revenue and makes the Company profitable is its cultivation of a subset of employees

          who are utterly dependent on the ability to regularly and repeatedly obtain Paycheck Advances for

          fees, thereby depleting their future paychecks and making them dependent on access to more loans.

          DailyPay touts employees’ addiction to potential investors, proclaiming that it will be able to

          consistently extract hundreds of dollars in wages on average each year from hourly workers. And

          the Company facilitates destructive lending by: (i) obscuring risks of dependency while promising

          financial freedom; (ii) leaning on exclusive relationships with trusted employers to promote the

          Paycheck Advance program as a benefit to their employees; and (iii) taking advantage of its right

          of first access to workers’ paychecks to ensure its own repayment while being indifferent to the

          harm that paycheck depletion causes to employees’ overall financial wellbeing.

                 10.     The facts summarized above and set forth in this Petition are based on: the OAG’s

          review of advertisements, agreements, and produced documents, as well as other publicly available

          materials, cited as “Ex. __” to refer to exhibits to the accompanying Affirmation of Christopher L.



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          Filburn (“Filburn Aff.’); the sworn testimony of Jane Levine, DailyPay’s former chief compliance

          officer who was designated to provide testimony (cited to throughout as the “Levine Tr.”), Filburn

          Aff. Ex. 2; and data analyses performed on transaction-level data for New York employees from

          October 1, 2020 to December 31, 2024 (the “Data Period”) memorialized in the Affidavit of Akram

          Hasanov (cited to throughout as the “Hasanov Aff.”), Filburn Aff. Ex. 1.

                 11.     As established herein, DailyPay has continued to engage in repeated and persistent

          fraud and illegality in violation of New York’s Executive Law § 63(12), General Business Law

          (“GBL”) §§ 349 and 350, General Obligations Law § 5-501, Penal Law § 190.40, Personal

          Property Law § 46-F, and the Consumer Financial Protection Act, 12 U.S.C. § 5531 et seq.

                                    PARTIES, JURISDICTION, AND VENUE

                 12.     Petitioner Letitia James is the Attorney General of the State of New York. She is

          responsible for enforcing New York’s laws, including Executive Law § 63(12).

                 13.     Respondent DailyPay is a Delaware corporation (Ex. 7) with its principal place of

          business located at 55 Water Street, New York, New York 10041 (Ex. 39).

                 14.     Petitioner brings this special proceeding on behalf of the People of the State of New

          York under the authority granted in Executive Law § 63(12), which authorizes the Attorney

          General to bring a proceeding for injunctive and other equitable relief “[w]henever any person

          shall engage in repeated fraudulent or illegal acts or otherwise demonstrate persistent fraud or

          illegality in the carrying on, conducting or transaction of business.”

                 15.     Venue is properly set in New York County because Petitioner is resident in New

          York County and has selected New York County, because Petitioner is a public authority whose

          facilities involved in the action are located in New York County, and because Respondent’s

          principal place of business is in New York County. See CPLR §§ 503, 505, 509.



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                                                    FACTS

                 16.     DailyPay is an app-based lender that makes Paycheck Advances to employees

          whose employers have enrolled in the Company’s program. (Ex. 40; Levine Tr. 17:4–10.).)

                 17.     DailyPay targets employees who earn hourly wages and are paid on fixed cycles

          such as every two weeks or monthly, promoting Paycheck Advances as providing “wages” that

          employees have “earned” during the pay period but not yet received. (Ex. 40.)

                 18.     Companies that have contracted with DailyPay to provide its Paycheck Advance

          program to employees include fast food chains such as Burger King and McDonald’s, retailers

          such as Kroger and Target, and healthcare providers such as HCA and United Healthcare (Ex. 17,

          at 2189; Levine Tr. 201:20–24), many of whom pay wages at or near minimum wage.

                 19.     DailyPay facilitates Paycheck Advances through an app-based platform that allows

          employees to obtain funds via electronic transfer from DailyPay to their bank accounts in amounts

          up to what DailyPay permits based on its analysis of payroll data. (Ex. 31; Ex. 40.)

                 20.     The fee structure employed by DailyPay varies by employer. (Levine Tr. 159:13–

          60:5.) The Company today employs the following dual fee structure: DailyPay (i) changes $0.00

          to $1.99 for Paycheck Advances with loan terms, meaning the period between payment of the

          Paycheck Advance and repayment on the next payday, that begin in 24 to 48 hours; and (ii) charges

          up to $3.99 for Paycheck Advances with terms that begin immediately with immediate

          disbursement. (Ex. 5, § 2, at 0463). For employees of certain employers, this means that a fee is

          mandatory whether the employee chooses a Paycheck Advance with a term that begins in 24 to 48

          hours or a Paycheck Advance with a term that begins immediately. (See generally Ex. 36.)

                 21.     DailyPay collects the Paycheck Advances it sends employees, along with all

          associated fees, by requiring employers to route employees’ direct deposits to a bank account held



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          by DailyPay. (Ex. 31.) Once the Company deducts everything it is owed by the employee,

          DailyPay deposits remaining amounts in employees’ bank accounts. (Ex. 31.)

          I.     DailyPay Solicits Employers to Enter into Agreements that Facilitate
                 DailyPay’s Marketing and Offering of Paycheck Advances to Employees

                 22.     To offer Paycheck Advances to employees, DailyPay solicits employers to enroll

          in its Paycheck Advance program (Levine Tr. 17:11–18:6; 28:18–29:4), after which DailyPay

          works with employers to market its Paycheck Advance program to employees. (Ex. 40.)

                 A.      DailyPay Entices Employers to Enter into Master Services Agreements
                         by Claiming that DailyPay Will Benefit Employers and their Employees

                 23.     DailyPay’s marketing of its Paycheck Advance program targets potential new

          employers. The Company’s website, for example, promises that the program “can help you recruit

          more employees, increase employee engagement, and improve retention.” (Ex. 38.)

                 24.     DailyPay also circulates a newsletter-like document that markets its Paycheck

          Advance program to chief financial officers and other senior executives at prospective employers,

          touting the supposed benefits of the program. (Ex. 32; Levine Tr. 25:5–27:9.)

                 25.     According to the newsletter, the program “will provide tremendous benefits to the

          employer – reduced turnover, increased employee productivity and engagement, and seamless

          integration across the tech stack – all for a price tag of $0 to the business.” (Ex. 32, at 0207.)

                 26.     That same newsletter also warns employers to be wary of DailyPay’s competitors

          who purport to offer free short-term advances to employees who sign up for paycards by pointing

          to a study that an employee who uses a paycard “typically pays an average of $300/year in

          cardholder fees” through paycard fees. (Ex. 32, at 0207–0211.)

                 27.     In other employer-facing ads, DailyPay similarly claims that its program will keep

          employees “engaged and working more efficiently than ever before.’ (Ex. 30, at 0157.) And



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          DailyPay’s employer “Quickstart Guide” touts the Company’s “life-changing” Paycheck Advance

          program that will result in “[r]educed absenteeism” among employees. (Ex. 21.)

                 28.     In addition to benefits that DailyPay promises to employers, the Company also touts

          supposed benefits to employees. DailyPay tells employers that the Paycheck Advance program

          will help employees “pay bills on time, meet unexpected expenses and avoid racking up overdraft

          and late fees or resorting to having to take out predatory payday loans.” (Ex. 32, at 0207.) The

          result, according to the Company, will be a “new financial system that ensures that money is

          always in the right place at the right time for everyone.” (Ex. 30, at 0156.)

                 29.     DailyPay similarly represents to prospective employers that their “employees will

          benefit” from the Paycheck Advance program “by having greater financial stability in their lives.”

          (Ex. 32, at 0212.) The Company also claims that nearly all “transfers are used to pay bills and

          avoid late fees” and that nearly all employes “will receive over half of their paycheck on payday.”

          (Ex. 30, at 0156.) And DailyPay ultimately promises employers that its program “creates

          permanent and positive changes in financial behavior.” (Ex. 30, at 0156.)

                 30.     Many of DailyPay’s claims regarding its Paycheck Advance program rely on a

          single, 2021 survey conducted by the Aite Group. DailyPay paid for that survey to be conducted.

          (Ex. 12, at 0283.) The Company also worked closely with the Aite Group to design the survey

          (e.g., Ex. 12; Ex. 14), while DailyPay management both discussed preliminary conclusions with

          the Aite Group immediately after the survey (e.g., Ex. 15), and reviewed preliminary drafts of the

          final report for red flags before distribution (e.g., Ex. 16). Employees who agreed to participate in

          the survey were promised an opportunity to win $100. (Ex. 11, at 0257.)

                 31.     The Aite Group’s conclusions were based on a single survey of about 1,000 users

          (Ex. 11, at 0257), a miniscule slice of the more than 2 million users today. Key conclusions were



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          based on even fewer responses—findings regarding payday loan use, for example, were based on

          just over 200 users’ responses—a de minimis fraction of its user base. (Ex. 11, at 0265.) And only

          24 employees who participated in the survey were from New York. (Filburn Aff. ¶ 12.) The Aite

          Group also acknowledged that the earned wage access market was “in its early stages” and that

          further “efforts to understand usage and outcomes” was needed. (Ex. 11, at 0273.)

                 B.      DailyPay Markets to Employees, through their Employers, the Ability
                         to Immediately Obtain Fee- and Interest-Free Paycheck Advances

                 32.     Employers who ultimately agree to make DailyPay’s Paycheck Advance program

          available to their employees enter into DailyPay’s form Master Services Agreement (“MSA”).

          (Ex. 6; Levine Tr. 52:16–20; 56:25–57:14.) The MSAs require that DailyPay be the exclusive

          provider of Paycheck Advances to employers’ employees. (Ex. 6, ¶ 7(b), at 0230.)

                 33.     Under their MSAs, participating employers agree to use “commercially reasonable

          efforts to promote” DailyPay’s Paycheck Advance program to their employees, including by

          identifying the program as “a benefit” offered by the employer, distributing marketing materials

          created by DailyPay to the employer’s employees, and taking steps to ensure that DailyPay’s own

          advertising and communications sent by email do not get routed to employees’ spam or junk email

          folders. (Ex. 6, ¶ 2(a)(ii), at 0223–24; Levine Tr. 66:9–67:22; id. at 108:25–09:10.)

                 34.     The “Quickstart” guide provided by DailyPay, for example, tells employers to help

          roll out the program by displaying “posters in break rooms” and handing out “FAQ cards to

          employees at the beginning of shifts or during team huddles.” (Ex. 21.)

                 35.     DailyPay licenses its marketing materials to participating employers to promote the

          Paycheck Advance program. (Ex. 6, ¶ 1(a), at 0223.) Through DailyPay materials, employers tell

          their employees that “[w]e’ve partnered with DailyPay to give you more control over your pay!”

          (Ex. 29, at 0135.) The communications describe the benefits as “no more waiting for payday, no


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         more late fees, and no more interest charges!” and informs employees that they should “[k]eep an

         eye out for a customized Welcome Email directly from DailyPay.” (Ex. 29, at 0136.)

                36.     Employers also are provided posters and flyers announcing “DailyPay Coming

         Soon!” that can be posted in the workplace, along with QR codes that employees can scan to “get

         a head start and download the free app.” (Ex. 18; Levine Tr. 107:5–10.) Other ads displayed in the

         workplace provide workers with website links to get started with DailyPay. (Ex. 19.)

                37.     DailyPay’s employee-facing marketing materials also stress the partnership

         between the Company and the employer. For example, DailyPay’s welcome email to potential new

         users states that DailyPay and the employer “have teamed up so you can control when you get

         paid.” (Ex. 27.) Another DailyPay employee message states that “DailyPay and [Employer Name]

         have teamed up so you can get paid before payday,” describing the Paycheck Advance program as

         “a new [Employer Name] benefit.” (Ex. 28.) And another ad states that DailyPay’s Paycheck

         Advance program is offered “in partnership with your employer.’ (Ex. 26.)

                38.     DailyPay’s employee-facing ads frequently portray the Company’s Paycheck

         Advance program as being free or no cost. For example, one employee-facing ad points employees

         to DailyPay’s “free app” and tells employees to get “started for free today” in order to obtain

         money “in the right place, at the right time!” (Ex. 20.) DailyPay ads also expressly contrast its

         Paycheck Advance program with traditional payday loans (Ex. 23):

                                             THEM

                                             Take a loan in
                                             between pay days ".


                                             US
                                             Get you
                                             between p          ays

                                             dailypay.




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                39.      In addition to the supposedly free or no-cost nature of its Paycheck Advance

         program, DailyPay also markets the ability for employees to obtain immediate funds through its

         program. DailyPay’s electronic ads to workers, for example, contain links with the words: “Get

         paid today.” (Ex. 24; see also Ex. 22 (“Get paid on the SAME DAYS you work”).)

                40.      Ads for Paycheck Advances posted in the workplace likewise declare: “Access your

         pay when you need it!” (Ex. 18.) One such poster also includes a screenshot of the DailyPay app

         that identifies various amounts available for transfer but says nothing about any associated fees.

         (Ex. 18.) That poster also declares: “Money in the right place, at the right time.” (Ex. 18.)

                41.      DailyPay similarly markets the ability for a worker to access earnings “when you

         need it.” (Ex. 28.) For example, one ad asks “HAVE TO FUND ANOTHER GROCERY RUN???”

         and then tells the reader that DailyPay will be able to “save the day.” (Ex. 25.)

                42.      The combination of DailyPay’s marketing of a no cost program and the immediate

         availability of funds creates a false impression that immediate advances are free. In one flyer

         provided to employers to share with employees, DailyPay touts the ability to “access your pay on-

         demand” and declares that employees can get started “for free” (Ex. 19):


                      Access your pay when you need it.
                      What is DailyPay?                                        Why should I sign up for DailyPay?
                      DailyPay is a voluntary benefit that                     Whenyou sign up for DailyPay,
                                                                                                           you can
                      allows you access to your earned pay                     access your pay on-demand. No more
                      when you need it, with additional ways                   waiting   for payday!
                      to help you save.
                                                                               How can I reach DailyPay?
                      Get started         for free today!
                                                                               You can contact    DailyPay by phone, email
                      Goto dailypay.tm/digital-faq                             or chat 24/7


                      or text STARTto 66867.
                                                                               Phone: (866) 432-0472
                                                Point your camera
                                                                               Email: employee.support@dailypay.com
                                                here to get the free app




                      dailypay.tm/digital-faq



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                43.     Template communications that DailyPay provides to employers to use when

         launching the program similarly tell employees they can “[t]ransfer your earnings instantly when

         they need it,” without any reference to costs. (Ex. 29; Levine Tr. 111:6–12:20.)

                44.     And welcome communications to newly enrolled employees highlight the ability

         to “instantly” transfer funds to bank accounts, stressing the ability to “[a]ccess your money when

         you need it” without any acknowledgment of the associated costs. (Ex. 27.)

                45.     DailyPay’s form communications for employers to send to their employees also

         suggest that the program will allow an employee to “[a]ccess your pay instantly” without mention

         of fees or costs. (Ex. 29; see Ex. 32 (“Instantly transfer your earned pay.”).)

                46.     And in an electronic ad, DailyPay shows a user obtaining a $100 Paycheck

         Advance, clicking the “Now” delivery option, and indicating that the reason was to pay a phone

         bill—all without ever showing any fee incurred. (Filburn Aff. ¶ 10; Exs. 33, 34, 35.)

         II.    DailyPay Profits from its High-Cost, Short-Term Paycheck Advances to Employees

                47.     Employees who enroll in the DailyPay program are presented “Program Terms.”

         (Ex. 3, at 0214.) The Program Terms provide that, by using DailyPay’s app to access Paycheck

         Advances, the employee agrees to be bound by the Program Terms. (Ex. 3, at 0214.) Employees

         do not physically or electronically sign the Program Terms. (Levine Tr. 140:21–41:13.)

                48.     Employees access Paycheck Advances primarily through DailyPay’s mobile app.

         (Ex. 3, at 0214.) Under DailyPay’s Program Terms, an employee’s “Unpaid Earnings” are equal

         to her right to payment for regular pay that will be owed to her but has not yet been paid. (Ex. 3,

         § 10, at 0220.) When accessing the DailyPay app, a worker sees her available balance, which is

         equivalent to the portion of the worker’s Unpaid Earnings that DailyPay, in its sole discretion, will

         make available as a Paycheck Advance (Ex. 3, § 2, at 0215), as follows (Ex. 18):



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                                                    AVAILABLEBALANCE


                                                         $236.20
                                                        Last Shift:Aug 27,03:21EDT




                                                   Choose an Amount

                                                  $20                      $d0




                                                          Start Transfer



                                                          Add to Savings


                                                    Power+1bydailypa




                49.     To enable DailyPay to calculate Unpaid Earnings and determine available balances

         in real time, employees who sign up for the Paycheck Advance program consent to their employers

         sharing payroll data with DailyPay. (Ex. 3, § 3, at 0216.) Employers agree to provide this payroll

         data to DailyPay in their MSAs. (Ex. 6, ¶¶ 2(a)(v)–(ix), at 0224–25; Levine Tr. 15:4–22.)

                50.     On October 1, 2020, the beginning of the Data Period, the Paycheck Advances

         resulted in fees based on fee schedules that varied by employer. (See Ex. 36.) As of today,

         DailyPay’s Program Terms specify that when employees request Paycheck Advances they will be

         provided the option to (i) receive a Paycheck Advance the next business day for a fee of $0.00 to

         $1.99, depending on the fee structure of the employer, or (ii) receive a Paycheck Advance

         immediately for a fee of up to $3.99. (Ex. 5, § 2, at 0463; see Ex. 17, at 2191.)


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                51.     The fees for Paycheck Advances with terms that begin immediately do not reflect

         the costs of real-time payments. The Clearing House’s per-transaction cost for a real-time payment

         is $0.045. (Ex. 44.) And DailyPay’s own investor materials emphasize that its “Transaction Costs”

         are decreasing as a result of “the shift to Real Time Payments (RTP).” (Ex. 17, at 2227.) Indeed,

         while the Company generated nearly $100 million more in fee revenue in its most recent fiscal

         year—an increase of more than 73% over the prior year—the transaction costs of the Company,

         which are defined as “everything directly related to settlements and security costs” such as “instant

         transaction” and “next-day ACH” costs, increased by less than 1%. (Ex. 17, at 2228.)

                52.     DailyPay’s Program Terms define an employee’s requested Paycheck Advance,

         inclusive of fees, as “Daily Earnings.” (Ex. 3, §§ 2 & 10, at 0215 & 0220.) And the funds that the

         Company sends to an employee is the “Amount Provided.” (Ex. 3, § 2, at 0215.) For example, if

         an employee requests a $50 Paycheck Advance for a $2.99 fee, the Daily Earnings is $50 and the

         Amount Provided is the $47.01 ($50, less the $2.99 fee) that DailyPay sends.

                53.     When an employee requests a Paycheck Advance from DailyPay, she assigns “all

         right, title, and interest in and to the related Daily Earnings”—in effect, an assignment of an

         amount equal to the sum of the Paycheck Advance and fee—to DailyPay. (Ex. 3, § 2, at 0215.) As

         the Company explains its business to investors: “DailyPay acquires [a] wage receivable from the

         employee against the payment of a fixed fee.” (Ex. 17, at 2192; Levine Tr. 190:24–91:11.)

                54.     The median DailyPay transaction for New York employees during the Data Period

         was a $77.07 Paycheck Advance that incurred a $2.99 fee. (Hasanov Aff. ¶ 25.) Across the entire

         Data Period, the most common Paycheck Advance was for $25 to $50 and carried a $2.99 fee,

         representing more than 1.1 million transactions, or nearly one in every nine. (Id. ¶ 28.)




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                55.     DailyPay’s short-term, high-cost Paycheck Advance program generates substantial

         revenue for the Company. During the Data Period, DailyPay made more than 9.8 million Paycheck

         Advances to more than 130,000 New York workers. (Hasanov Aff. ¶¶ 13, 16.) DailyPay collected

         fees on roughly nine out of every ten Paycheck Advances (id. ¶ 15), for total fee revenue in excess

         of $27 million (id. ¶ 13), all collected from the wages of New York workers.

                56.     DailyPay is rapidly growing: Less than 11,000 New York workers obtained

         Paycheck Advances in the first six months of the Data Period, while more than 50,000 obtained

         Paycheck Advances in later periods. (Hasanov Aff. ¶ 17.) And in the first eighteen months of the

         Data Period, DailyPay collected less than $3.4 million in fees, while in the last nine months alone

         the Company collected more than $9 million in fees. (Id. ¶ 14.)

                57.     Beyond New York, in January of last year DailyPay told prospective investors in

         its most recent fundraising round that the Company had reached annual recurring revenues of more

         than $235 million, with more than 1.2 million active users (Ex. 17, at 2184.) DailyPay also

         represented that it projects an additional $1 million of revenue is added to the Company’s bottom

         line for every 20,000 additional onboarded eligible workers. (Ex. 17, at 2184–2186.)

                58.     DailyPay’s Paycheck Advance program imposes an extraordinarily high cost of

         credit on New York workers. The median transaction described above has a median term—the

         number of days between which the employee received a Paycheck Advance was received and the

         employer sent the next paycheck to DailyPay—of 8 days. (Hasanov Aff. ¶ 25.) For such a

         transaction, the $2.99 fee that is paid by an employee to obtain a roughly $75 median Paycheck

         Advances reflects an annualized percentage rate, or APR, in excess of 193%. (Id.)




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                59.    DailyPay’s most-common Paycheck Advance is for $20, its most-common fee is

         $2.99, and the single most-common term is 7 days. (Hasanov Aff. ¶ 26.) Employees pay a cost of

         credit of more than 750% APR on Paycheck Advances with such terms. (Id. ¶ 26.)

                60.    Over the entire Data Period, New York workers paid a median APR of 193.47%

         and an average APR of 398.59% on Paycheck Advances that they obtained from DailyPay.

         (Hasanov Aff. ¶ 27.) More than 1,100,000 Paycheck Advances were for between $25 and $50 and

         for fees of $2.99 or $3.49, and the median APR paid by employees on these short-term loans was

         above 400%. (Id. ¶ 28.) And across all Paycheck Advances on which fees were assessed during

         the Data Period, roughly 93% had APRs greater than 50%, as illustrated below:

                                                  All Fee Transactions   by APRCategory
                               16.7%

                                        15.4%


                 14


                                                  12.0%
                 12                                                                                     11.4%


                 10

                                                               8.6%
                                                                                                                  8.3%

                        7.3%

                                                                          6.2%

                                                                                              5.2%


                  4


                  2




                        0-50   50-100   100-150   150-200     200-250   250-300    300-400   400-500   500-1000   1000+
                                                                 APRCategory




         (Id. ¶ 29 & Ex. B.) As the chart reflects, more fee-based Paycheck Advances had APRs above

         1,000% than below 50%. (Id. Ex. B.) Workers, meanwhile, paid APRs in excess of 500% on nearly

         one out of every five Payday Advances made during the Data Pariod. (Id. ¶ 30.)

                61.    An overwhelming majority of Paycheck Advances made by DailyPay during the

         period exceed key New York limitations. In particular, 8,700,148 Paycheck Advances had APRs


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         above 16%, constituting nearly 99.5% of all fee-based Paycheck Advances and resulting in

         DailyPay’s collection of $24,366,911.52 in fees. (Hasanov Aff. ¶ 31.)

                62.     Similarly, more than 99.3% of fee-based Paycheck Advances had APRs in excess

         of 18%, imposing $24,327,908.32 in fees. (Hasanov Aff. ¶ 32.)

                63.     Finally, more than 99.3% of all fee-based Paycheck Advances had APRs in excess

         of 25%, from which DailyPay collected $24,089,752.42 in fees. (Hasanov Aff. ¶ 33.)

         III.   DailyPay Ensures that It Will Obtain Repayment of its Paycheck Advances using
                a Specified Flow of Funds, its User Agreements, and its Assessments of Credit Risk

                64.     Despite the extraordinarily high cost of credit imposed by its short-term lending

         program, DailyPay collects on virtually all amounts it is owed.

                65.     For one, using real-time access to payroll data, DailyPay unilaterally determines

         the maximum Paycheck Advance that an employee may obtain (Ex. 3, §§ 2 & 3 at 0215–16),

         thereby ensuring that the Paycheck Advances and fees owed will be less than the paycheck

         DailyPay receives. The Company employs a real-time algorithm to dynamically adjust for factors

         that could affect its ability to collect on its Paycheck Advances, such as “the impacts of any taxes,

         benefits, and garnishments for each unique employee.” (Ex. 17, at 2203–05.)

                66.     Further, if inaccurate payroll data causes DailyPay to make Paycheck Advances in

         excess of an employee’s actual pay amount received when pay day arrives, employers must

         reimburse DailyPay for any shortfall. (Ex. 6, ¶2(a)(ix), at 0224–25.)

                67.     DailyPay also obtains legal protections for amounts it is owed. When an employee

         obtains a Paycheck Advance and assigns to DailyPay her wages in an amount equal to the

         Paycheck Advance plus fee, she simultaneously agrees that DailyPay “can stand in [her] shoes and

         receive payment for the Daily Earnings” from her employer. (Ex. 3, § 2, at 0215.) DailyPay calls

         this right to receive the employee’s assigned wages “non-recourse” but that remains true only if


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         the employee has not breached the Program Terms (Ex. 3, § 2, at 0215), such as by failing to make

         payments to DailyPay in the event an employer routes pay to the employee.

                68.     When enrolling in DailyPay’s program, an employee is obligated to arrange for her

         employer to direct deposit her pay to a DailyPay bank account. (Ex. 3, § 2, at 0215.) When taking

         an advance, the worker agrees that she “will not take any action” such as “redirecting payments”

         that has an “adverse effect on [DailyPay’s] ability to collect.” (Ex. 3, § 4, at 0215.)

                69.     Employers also separately agree in their MSAs to make all payroll payments owed

         to employees who use the Paycheck Advance program directly to DailyPay. (Ex. 6, ¶ 2(a)(x), at

         0225.) Thus, on payday, employers deposit workers’ entire pay in a DailyPay bank account. (Ex.

         31.) DailyPay then collects all Paycheck Advances and fees that it is owed from workers’

         paychecks before passing any remaining amounts to them. (Ex. 3, § 2, at 0215.)

                70.     Because DailyPay collects all amounts it lends and fees from employers directly

         rather than from workers, the credit risk that the Company faces is, in its own words, “the risk that

         employers don’t make payroll.” (Ex. 17, at 2197.) As the Company tells investors: “DailyPay does

         not take consumer credit risk but is instead underwriting the employer.” (Ex. 17, at 2191.)

                71.     To guard against the credit risk that employers don’t make payroll, DailyPay

         maintains a Credit Review Policy that requires a thorough assessment of prospective and current

         employers’ creditworthiness. (Ex. 13; see Levine Tr. 82:9–15 (“The credit review is to evaluate

         the risk involved in . . . contracting with the employer, and effectively that the employer is going

         to make payroll.”); id. at 92:22–93:2 (“Q. And ultimately what the credit review committee is

         assessing is, I think, as you put it earlier, the risk that the employer won’t be able to make payroll?

         A. That’s the -- would be the biggest risk.”).) As part of this underwriting, employers that are not




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         public companies must provide to DailyPay on an ongoing basis annual audited financial

         information and quarterly unaudited financial information. (Ex. 6, ¶ 2(a)(xix), at 0226.)

                72.     When underwriting a potential employer, DailyPay first determines the number of

         employees who will be eligible for the Paycheck Advance program. (Ex. 13, at 0484; Levine Tr.

         88:5–16.) New employers with more than 3,000 eligible employees are subjected to a full review,

         while all other new employers go through a “low touch” process. (Ex. 13, at 0484.)

                73.     For potential new employers subject to its low touch process, DailyPay reviews two

         data analytics metrics from Dun & Bradstreet (“D&B”): Viability Score and Failure Score. (Ex.

         13, at 0484.) D&B is a professional services firm that conducts data analytics and modeling on

         businesses and produces and sells reports of the results of its work. (Ex. 41.)

                74.     D&B’s Viability Score “is a multi-dimensional rating that delivers a comprehensive

         assessment of a company’s . . . viability,” including predicting “the likelihood that a company will

         go out of business, become inactive, or file for bankruptcy over the next 12 months.” (Ex. 43.)

                75.     D&B’s Failure Score, according to its public descriptions, “predicts the likelihood

         that a business will, in the next 12 months, seek legal relief from its creditors or cease business

         operations without paying all its creditors in full.” (Ex. 42.)

                76.     DailyPay accepts new employers through its low touch process where employers

         score moderate or better on both D&B’s Viability Score and its Failure Score. (Ex. 13, at 0484.)

         If a new employer does not meet these thresholds, they are subject to a full review under the Credit

         Review Policy, as are all potential new employers of greater size. (Ex. 13, at 0484.)

                77.     DailyPay’s full review of potential new employers involves a committee process.

         DailyPay’s Senior Committee, comprised of its Vice President of Capital Markets, its Chief

         Financial Officer, its Chief Operating Officer, and its Vise President of Finance, reviews all



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         potential new employers with more than 5,000 potentially eligible employees, while its Junior

         Committee, comprised of its Director of Capital Markets, Senior Director of Capital Markets, and

         Controller, reviews smaller potential new employers. (Ex. 13, at 0485.)

                78.     Under its Credit Review Policy, DailyPay’s credit committees determine whether

         to accept new employers based on a review of the employers’ external credit ratings, liquidity,

         profitability, cash flows, leverage, and other commercial factors, such as reputation, press

         coverage, and management team. (Ex. 13, at 0484.) The committees also have the option to offer

         “credit enhancements” for potential new employers. (Ex. 13, at 0485.)

                79.     DailyPay’s credit review onboarding is also responsive to market conditions. For

         example, during the first 15 months of the Covid-19 pandemic, the credit committees determined

         that affected employers in sectors such as travel, amusement parks, and hospitality, would undergo

         a full review rather than a low touch review regardless of size. (Ex. 13, at 0486.)

                80.     After a new employer to the Paycheck Advance program “is credit approved and

         onboarded, DailyPay utilizes an ongoing credit monitoring process to account for potential

         changes in the credit quality of the [employer] over time.” (Ex. 13, at 0487.)

                81.     For employers approved after a full review, a DailyPay employee is required to

         contact the employer annually to obtain updated credit metrics and financial information and then

         prepare a report for the credit committees. (Ex. 13, at 0488–89.)

                82.     The committees then determine whether to re-approve the employer, re-approve the

         employer with required “credit enhancements,” such as quarterly rather than annual reviews,

         letters of credit, or personal guarantees, or deny the employer entirely. (Ex. 13, at 0489.) For

         employers approved after the low touch process, DailyPay re-runs the low touch process each year

         to ensure that the employers continue to score above the required thresholds. (Ex. 13, at 0489.)



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                83.     Finally, if DailyPay determines that an employer is subject to “a deteriorating credit

         profile” outside the annual review process, the Credit Review Policy provides that its credit

         committee can take corrective actions, including reducing the size of Paycheck Advances available

         to employees or suspending Paycheck Advances altogether. (Ex. 13, at 0491; see also Levine Tr.

         103:24–04:6 (“It could be the company is deemed such a credit risk that the service has to be

         suspended . . . the credit committee could recommend that.”).)

                84.     If, notwithstanding these credit risk assessments, employers fail to fund payroll in

         a manner that prevents DailyPay from collecting amounts it lends and fees, the result is a “Negative

         Balance.” (Ex. 6, at Ex. A, ¶ 1(p), at 0236.) Under the MSAs, employers must reimburse to

         DailyPay any Negative Balance below $10,000 within thirty days and any Negative Balance above

         $10,000 within two days. (Ex. 6, ¶ 2(a)(xvii), at 0225–26.) Failure to make these contractual

         payments can result in legal action taken by DailyPay. (Ex. 6, ¶ 10(b), at 0231.)

                85.     Beyond its rights vis-à-vis employers, DailyPay’s Program Terms impose

         obligations on employees to ensure its collection of all Paycheck Advances and fees.

                86.     For one, employees promise to “take all actions, including the execution of

         documents requested by [DailyPay], to preserve and protect [its] right, title, and interest to any

         Daily Earnings.” (Ex. 3, § 4, at 0217; Ex. 5, § 5, at 0474.)

                87.     Employees also promise as part of the Company’s Program Terms to “not take any

         action or make any omission” that has “an adverse effect on our ability to collect on or retain any

         Daily Earnings.” (Ex. 3, § 4, at 0217; Ex. 5, § 5, at 0474–75.)

                88.     Finally, employees make an affirmative representation to DailyPay, each time they

         seek a Paycheck Advance that they have not sold, pledged, or encumbered the amounts that they

         are seeking to borrow. (Ex. 3, § 5, at 0218; Ex. 5, § 6, at 0475.)



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                89.     DailyPay also has the ability to collect directly from employees, despite its promise

         of non-recourse. For example, if an employer pays an employee directly rather than sending the

         pay to DailyPay, the employee is obligated to immediately notify DailyPay and “hold the amount

         in trust for our benefit.” (Ex. 3, § 4, at 0217; Ex. 5, § 5, at 0474.) Failure by an employee to adhere

         to these obligations triggered DailyPay’s rights under the Program Terms as follows:

                90.     Until May 1, 2023, DailyPay was authorized to debit an employee’s bank account

         to obtain repayment of the Paycheck Advances and fees. (Ex. 3, § 4, at 0217.) And if there is any

         dispute between an employee and her employer, the employee was obligated to resolve the dispute,

         to obtain disputed wages, and to immediately send payment to DailyPay to satisfy any outstanding

         Paycheck Advances; if she did not, DailyPay was authorized to debit her bank account to collect

         payment. (Ex. 3, § 6, at 0218–19.) The Program Terms also provided a blanket authorization to

         debit a bank account to address errors, fraud, and other breaches of the Program Terms. (Ex. 3, §

         7, at 0219.) And the Company maintained a general right of setoff. (Ex. 3, § 9, at 0219.)

                91.     DailyPay updated its Program Terms on May 1, 2023 to remove workers’ debit

         authorizations. (See generally Ex. 4.) However, workers remain obligated (i) to hold amounts sent

         to them but owed to DailyPay in trust (Ex. 4, § 5, at 0474), (ii) to resolve disputes with employers

         and (iii), if unable to do so, to “immediately send [DailyPay] payment” within three days. (Ex. 4,

         § 7, at 0476.) Further, DailyPay retains the right to request that employees grant debit

         authorizations to resolve errors or fraud and, if employees decline to do so, DailyPay will settle

         disputed amounts against employees’ next paychecks. (Ex. 4, § 8, at 0477.)

                92.     The result of the substantial credit protections that DailyPay maintains is

         unsurprising: Across the Data Period, DailyPay successfully collected on between 99.92% and

         99.99% of the Paycheck Advances made and fees assessed. (Hasanov Aff. ¶ 18.)



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         IV.    DailyPay Traps Employees in Cycles of Dependency Resulting in Repeated Use of
                High-Cost Paycheck Advances Without Regard to Employees’ Financial Wellbeing

                93.     To be profitable in the long run, DailyPay requires employees to obtain Paycheck

         Advances and pay fees to the Company both frequently and continuously over time. (See generally

         Ex. 17.) No matter how large in scale in terms of the number of employees enrolled, DailyPay

         cannot reliably generate profits if every employee accesses just one Paycheck Advance each month

         to pay for a single unexpected expense or to cover some emergency shortfall.

                94.     DailyPay’s product, however, provides a ready engine to drive this need for more

         loans: As an employee obtains a Paycheck Advance, the amount that she receives on pay day is

         reduced by the amount of the Paycheck Advance, plus fees. (Ex. 40). The result is that employees

         are more likely to need to obtain another Paycheck Advance (and pay another fee) in their next

         pay cycle to make up shortfalls that occurs on payday. This creates a cycle of dependency in which

         the act of obtaining a Paycheck Advance creates a need, in the next pay cycle, for additional funds,

         thereby prompting another Paycheck Advance. (See Ex. 37 (“Repeat usage is high and the share

         of workers using [Paycheck Advance] products each month is increasing.”).)

                95.     The result is an increasingly dependent user base. In the first six months of the Data

         Period, more than half of all employees averaged less than two Paycheck Advances per week. In

         the final nine months, more than 20,000 New York workers—more than 55% of all workers who

         obtained Paycheck Advances—obtained two or more each week. (Hasanov Aff. ¶ 40.)

                96.     DailyPay itself acknowledges the importance of repeat use. In describing its annual

         revenue per-employee to investors, DailyPay finds that average per-employee use of the Paycheck

         Advance is two times each week. (Ex. 17, at 2192.) This average-use figure has been remarkably

         consistent throughout the last several years, as shown below (Ex. 17, at 2225):




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                                                              Weekly Transactions               Per User
                                                        4.0


                                                ._
                                                        3.5   ---          - -      -       - -




                                                        2.5

                                                        2.0

                                                        1.5

                                                        1.0

                                                        0.5

                                                        0.0
                                                               Jan-19 Jan-20 Jan-21 Jan-22 Jan-23 Jan-24



                97.           The projections DailyPay provided to investors are consistent with this reality:

         employees enrolled in the Paycheck Advance program have steadily increased the average number

         of Paycheck Advances they obtain each week from 2.07 to 2.86 (Hasanov Aff. ¶ 16 & Ex. A):

                                                                 Average Paycheck Advances Per Week

                                                                                                                                      2.86


                 2.8
                                                                                                                          2.71

                                                                                                  2.65
                                                                                                              2.61
               3 2.6
                                                                    2.53


                                                                                     .43

                 2.4
                                    2.33             2.33




                 2.2


                       2.07



                       Oct 2020-    Apr 2021-        Oct 2021-      Apr 2022-       Oct 2022-     Apr 2023-   Oct 2023-   Apr 2024-   Oct 2024-
                       Mar 2021     Sep 2021         Mar 2022       Sep 2022        Mar 2023      Sep 2023    Mar 2024    Sep 2024    Dec 2024
                                                                                     Feriod




                98.           Repetitive use is durable: Once a worker begins to obtain multiple Paycheck

         Advances each pay period, she generally continues to do so in the future. For example, when

         presenting future revenue for potential investors at the outset of 2024, DailyPay projected that 90%

         of its revenue for 2024 would come from already-enrolled or soon-to-be-enrolled employees, while


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         75% of its revenue for 2025 would come from these same employees. (Ex. 17, at 2220.) Elsewhere,

         DailyPay touts its ability to retain more than 96% of existing employees and revenue year over

         year. (Ex. 17, at 2226.) DailyPay’s average revenue per employee has remained remarkably

         consistent throughout the last several years, as shown below (Ex. 17, at 2225):

                                              Annualized Revenue Per User
                                        $450   ---         -   -

                                        $400

                                        $350   ---
                                        $300

                                        $250

                                        $200

                                        $150

                                        $100                                   -   -   -
                                        $50

                                        $0
                                               Jan-19 Jan-20 Jan-21 Jan-22 Jan-23 Jan-24



                99.     DailyPay refers to employees’ pattern of durable, repetitive use of the Company’s

         Paycheck Advance program as its “Powerful Business Model.” (Ex. 17, at 2192.)

                100.    Through this “Powerful Business Model” DailyPay projects that it can generate an

         additional $1 million in annual recurring revenue by adding 20,000 additional eligible workers

         (who may or may not enroll in DailyPay) as follows: first, about 16% of those workers will enroll

         and eventually become active users; second, those active users will eventually request two or more

         Paycheck Advances every week; third, DailyPay will generate $3 of revenue for each Paycheck

         Advance, or $300 annually, from each active user. (Ex. 17, at 2192.)

                101.    The Company’s business model is so durable, due to the dependency it creates, that

         DailyPay projects revenue several years out relying solely on its ability to collect about $370 on

         average for each active user over the next several years. (Ex. 17, at 2223–24.)

                102.    The aggregate statistics DailyPay uses for its projections hide a far direr economic

         stress. Roughly half of employees who enroll in the Paycheck Advance program fall prey to this

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         pernicious cycle of use. (Hasanov Aff. ¶¶ 39–41.) DailyPay’s profitability and business model are

         centered on these employees who obtain Paycheck Advances more than twice a week—or much

         more often—whom the Company refers to as its “long-term upside.” (Ex. 17, at 2216.)

                103.            During the Data Period, 75 to 80 percent of the Company’s revenue was extracted

         from workers who obtained Paycheck Advances at least twice per week. (Hasanov Aff. ¶ 42.)

                104.            The burden of these fees falls more heavily on employees who use the program to

         obtain Paycheck Advances every other day, or more, on average. These users have steadily grown

         from one in every six workers to more than one in every four (Hasanov Aff. ¶ 45) who incur

         hundreds in fees annually and paid nearly half of all fees in recent periods (id. ¶ 46 & Ex. E):

                                                    Revenueby Frequent Users Over Six-Month Period




                                                                                               45.




                 42                                                     41.




                 38 ·

                                              36.
               2 36


                 34 · -         -   -   34.

                          32.




         Because dependent employees who obtain Paycheck Advances every other day or more frequently

         end up obtaining Paycheck Advances shortly before payday, their cost of credit is higher than for

         all workers using DailyPay, jumping above a median APR of 225%. (Id. ¶ 43.)

                105.            As the number of dependent workers has grown, so too has the number of Paycheck

         Advances obtained within a few days of the last one. Across the Data Period, about 75% of all


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         Paycheck Advances are taken out within four days of a worker’s last one, while nearly three in

         every five Paycheck Advances are obtained by workers whose prior loan was taken out within two

         days or less. (Hasanov Aff. ¶ 48.) This repeat use is costly: the median APR employees pay on

         subsequent Paycheck Advances range from 219.15% to more than 450%. (Id. ¶ 49.)

                106.    The effect on financial wellbeing is predictably harmful. A full-time, $15-per-hour

         worker can be projected to receive about $1,000 on payday. But if she obtains a median-level

         Paycheck Advance twice weekly—$75 for a $2.99 fee—then by pay day she will receive less than

         $700, leaving her hundreds of dollars short when managing large-dollar recurring expenses such

         as the mortgage or rent and car payment. And a highly dependent worker obtaining Paycheck

         Advances every other day can easily see her previous $1,000 paycheck cut in half.

                107.    Similarly, the costs imposed by the DailyPay program are disproportionate to any

         benefit received. A worker who takes one $77.99 Paycheck Advance for a $2.99 fee receives $75

         immediately and then receives $77.99 less on pay day. During the next pay cycle, the worker

         requests a $80.98 Paycheck Advance to make up for that lost $77.99. But this new Paycheck

         Advance is not providing new funds—it is filling a hole left by the prior Paycheck Advance. And

         the fee incurred for this and each subsequent Paycheck Advance, which can amount to $100 or

         more, is solely attributable to the one-time benefit received from the first Paycheck Advance.

                108.    The financial behavior DailyPay’s lending model encourages is unsustainable. For

         the ten percent of users with the highest average frequency of Paycheck Advances during the Data

         Period, the median size of their Paycheck Advances was $50, the median fee of their Paycheck

         Advances was $2.99, and the median term was 9 days. (Hasanov Aff. ¶ 44.) Through this financial

         activity, these workers are effectively taking out a new, 240% APR loan 5.7 times each week (id),

         with DailyPay extracting hundreds of dollars in wages from such workers annually.



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                109.    Yet while these cycles of dependency have the potential to wreak financial havoc

         on individual employees’ lives, DailyPay has structured its business model to make the Company

         utterly indifferent to any such negative outcomes. (See Ex. 17, at 2191 (“DailyPay does not take

         consumer credit risk”).) Instead, DailyPay contractually guarantees its own repayment through its

         MSAs with employers that obligate those employers to send the paychecks of financially distressed

         employees directly to DailyPay, ensuring that the Company is able to collect the amounts it lends

         and all fees first (Ex. 6, ¶ 2(a)(x), at 0225), in priority over workers’ needs.

                110.    Through balance updates, DailyPay encourages repeat use. In particular, whenever

         an employer updates its payroll records to reflect additional hours worked, DailyPay sends notice

         that a worker has “new earnings in your Daily Pay account!” and provides up-to-date available

         balance data. (Ex. 10.) For example, employees receive push notifications on their phone:


                                        A DAILYPAY                                              now

                                       Hi,    you have $239.61 available        in   your pay
                                       balance.




         (Ex. 8.) The result is a repeated prompt to trigger frequent use:


                                              4:04                                        .a    9m
                                        (9                 +1 (646) 762-4252

                                                                   Text Message
                                                                 Wednesday h    'J


                                             Hi Mica, your DailyPay balance
                                             justwent up! Your balance is now
                                             $240.00. Click here to view
                                             details http-s_;//JIsmdgam/
                                             S_6wsy.yKINz




                                             Hi Mica, your DailyPay balance
                                             justwent up! Your balance is now
                                             $260.00. Click here to view
                                             details   http_s;//ngert.com/
                                             H×ZINaTNve



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         (Ex. 9.) Rather than discouraging frequent use (and fees), DailyPay encourages harmful behavior,

         telling employees they “deserve to be paid every day.” (Ex. 8.) And DailyPay ads derisively chide

         those who are still “waiting 2 WEEKS for their paycheck???” (Ex. 22.)

                111.           As a result, DailyPay is steadily growing its number of workers who are dependent

         on Paycheck Advances. As shown below, both the absolute number of workers who obtain

         Paycheck Advances more than every-other-day, and the percentage of such workers that make up

         all enrolled employees, has been and is steadily growing (Hasanov Aff. ¶ 45 & Exs. C, D):

                                                                            Frequent Users Over Six-Month Period
                                                                                                                              11012


                        10000

                                                                                                                   9121

                                                                                                      8406
                         8000


                                                                                         6715

                         6000 -
                                                                             5538

                    E
                    Ï
                         4000
                                                               3251


                                                 2007
                         2000
                                  1255

                                     Oct 020-     Apr Ô021-     Oct Ô021-     Apr 022-    Oct Ô022-    Apr O23-    Oct O23-    Apr 024-   Oct Ò024-
                                     Mar2021      Sep2021       Mar2022       Sep2022     Mar2023      Sep2023     Mar2024     Sep2024    Dec2024
                                                                                           Period



                                                                         Frequent Users Over Six-Month Period
                        28                                                                                                                27.7



                        26                                                                                                     25.6



                        24 -                                                                                       23.7
                                                                                                      23.


                        22 -
                                                                                         21.5
                                                                             21.3


                        20
                                                              19.


                        18
                                                17.5


                               16.
                        16
                               Oct Ò020-        Apr 021-      Oct 021-      Apr 022-     Oct 022-     Apr 023-     Oct 023-    Apr 024-   Oct 024-
                               Mar2021          Sep2021       Mar2022       Sep2022      Mar2023      Sep2023      Mar2024     Sep2024    Dec2024
                                                                                          Period



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                112.        Similarly, the number of Paycheck Advances that workers obtained within days of

         their last loans is steadily growing, with Paycheck Advances that workers obtain within two days

         of their last ones now generating two-thirds of all fees for DailyPay (Hasanov Aff. ¶ 50 & Ex. F):

                                                                  Fee Revenue by Repeat Advances


                              +
                              -e- Days btw = 2                                                                               82°
                                    Days btw = 4                                        810

                       80



                              75°
                       75




                       70 -

                                                                                                                             67°
                                                                                        66°
                       65 '                                          64°
                                                    63°



                       60 -
                              59%

                       Oct2020 Mar2021         Apr2021 Sep2021   Oct2021- Mar2022    Apr2022- Sep2022   Oct2022 Mar2023   Apr2023 Sep2023
                                                                                Period



                                                        FIRST CAUSE OF ACTION
                                                      Executive Law § 63(12) (Illegality)
                                                   (N.Y. P.P.L. § 46-F – Wage Assignment)

                113.        New York’s Executive Law § 63(12) authorizes the OAG to seek injunctive and

         other relief when any individual or entity engages in repeated and persistent illegal conduct in the

         carrying on, conducting, or transacting of business in the state of New York.

                114.        New York’s Personal Property Law § 46-F prohibits any entity from directly or

         indirectly receiving or accepting, for the making of any advance of money for earnings assigned,

         a sum greater than eighteen percent annually, whether as a bonus, interest, or otherwise.

                115.        As set forth in the preceding paragraphs, DailyPay has engaged in repeated and

         persistent illegality through its making of Paycheck Advances and directly or indirectly accepting

         and receiving payment in excess of eighteen percent annually for earnings assigned.




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                116.    By reason of the conduct set forth herein, DailyPay has engaged in repeated and

         persistent illegality in violation of Executive Law § 63(12).

                                         SECOND CAUSE OF ACTION
                                        Executive Law § 63(12) (Illegality)
                                       (N.Y. G.O.L. § 5-501 – Civil Usury)

                117.    New York’s Executive Law § 63(12) authorizes the OAG to seek injunctive and

         other relief when any individual or entity engages in repeated and persistent illegal conduct in the

         carrying on, conducting, or transacting of business in the state of New York.

                118.    New York’s General Obligations Law § 5-501 prohibits any entity from directly or

         indirectly charging, taking, or receiving any money as interest on a loan at a rate exceeding sixteen

         percent annually, as determined by New York’s Banking Law § 14-A.

                119.    As set forth in the preceding paragraphs, DailyPay has engaged in repeated and

         persistent illegality through its making of Paycheck Advances and directly or indirectly charging,

         taking, and receiving interest in amounts that exceed sixteen percent annually.

                120.    By reason of the conduct set forth herein, DailyPay has engaged in repeated and

         persistent illegality in violation of Executive Law § 63(12).

                                          THIRD CAUSE OF ACTION
                                       Executive Law § 63(12) (Illegality)
                                   (N.Y. Penal Law § 190.40 – Criminal Usury)

                121.    New York’s Executive Law § 63(12) authorizes the OAG to seek injunctive and

         other relief when any individual or entity engages in repeated and persistent illegal conduct in the

         carrying on, conducting, or transacting of business in the state of New York.

                122.    New York’s Penal Law § 190.40 makes it a Class E felony for any entity to take or

         receiving money as interest on a loan at a rate exceeding twenty-five percent annually.




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                123.    As set forth in the preceding paragraphs, DailyPay has engaged in repeated and

         persistent illegality through its making of Paycheck Advances and directly or indirectly charging,

         taking, and receiving interest in amounts that exceed twenty-five percent annually.

                124.    By reason of the conduct set forth herein, DailyPay has engaged in repeated and

         persistent illegality in violation of Executive Law § 63(12).

                                        FOURTH CAUSE OF ACTION
                                       Executive Law § 63(12) (Illegality)
                                     (N.Y. G.B.L. § 350 – False Advertising)

                125.    New York’s Executive Law § 63(12) authorizes the OAG to seek injunctive and

         other relief when any individual or entity engages in repeated and persistent illegal conduct in the

         carrying on, conducting, or transacting of business in the state of New York.

                126.    New York’s GBL § 350 prohibits false advertising in the conduct of any business,

         trade, or commerce, or furnishing of any service, in the state of New York.

                127.    As set forth in the preceding paragraphs, DailyPay has engaged in repeated and

         persistent illegality through false advertising of “no interest” or “interest free” Paycheck Advances

         when DailyPay assessed and collected usurious interest on the Paycheck Advances. The false

         advertisements were likely to mislead a reasonable consumer, in violation of GBL § 350.

                128.    By reason of the conduct set forth herein, DailyPay has engaged in repeated and

         persistent illegality in violation of Executive Law § 63(12).

                                          FIFTH CAUSE OF ACTION
                                         Executive Law § 63(12) (Fraud)

                129.    New York’s Executive Law § 63(12) authorizes the OAG to seek injunctive and

         other relief when any individual or entity engages in repeated and persistent fraudulent conduct in

         the carrying on, conducting, or transacting of business in the state of New York.




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                130.    Executive Law § 63(12) broadly defines fraud to include “any device, scheme or

         artifice to defraud and any deception, misrepresentation, concealment, suppression, false pretense,

         false promise or unconscionable contractual provisions.”

                131.    As set forth in the preceding paragraphs, DailyPay has engaged in repeated and

         persistent fraud through its marketing and offering of Paycheck Advances in a manner that had the

         capacity or tendency to deceive and that created an atmosphere conducive to fraud by:

                        a.      having falsely represented to employers and employees in marketing

         materials and that the DailyPay program was “no interest” or “interest free”;

                        b.      having created inaccurate impressions that consumers can obtain funds

         immediately through Paycheck Advances without incurring costs; and

                        c.      having promoted Paycheck Advances as improving financial health and

         wellbeing without a factual basis and while projecting future dependency.

                132.    By reason of the conduct set forth herein, DailyPay has engaged in repeated and

         persistent fraud in violation of Executive Law § 63(12).

                                          SIXTH CAUSE OF ACTION
                                       Executive Law § 63(12) (Illegality)
                                    (N.Y. G.B.L. § 349 – Deceptive Practices)

                133.    New York’s Executive Law § 63(12) authorizes the OAG to seek injunctive and

         other relief when any individual or entity engages in repeated and persistent illegal conduct in the

         carrying on, conducting, or transacting of business in the state of New York.

                134.    New York’s GBL § 349(a) prohibits deceptive acts and practices in the conduct of

         any business, trade, or commerce in the state of New York.

                135.    As set forth in the preceding paragraphs, DailyPay has engaged in repeated and

         persistent illegality through deceptive marketing and offering of Paycheck Advances in a manner

         that was likely to mislead a reasonable consumer, in violation of GBL § 349 by:
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                        a.      having falsely represented to employers and employees in marketing

         materials and that the DailyPay program was “no interest” or “interest free”;

                        b.      having created inaccurate impressions that consumers can obtain funds

         immediately through Paycheck Advances without incurring costs; and

                        c.      having promoted Paycheck Advances as improving financial health and

         wellbeing without a factual basis and while projecting future dependency.

                136.    By reason of the conduct set forth herein, DailyPay has engaged in repeated and

         persistent illegality in violation of Executive Law § 63(12).

                                        SEVENTH CAUSE OF ACTION
                                       Executive Law § 63(12) (Illegality)
                                 (12 U.S.C. § 5531 – Deceptive Acts or Practices)

                137.    New York’s Executive Law § 63(12) authorizes the OAG to seek injunctive and

         other relief when any individual or entity engages in repeated and persistent illegal conduct in the

         carrying on, conducting, or transacting of business in the state of New York.

                138.    The Consumer Financial Protection Act, 12 U.S.C. § 5531, prohibits a covered

         person from engaging in deceptive acts or practices in connection with any transaction for a

         consumer financial product or in the offering of a consumer financial product.

                139.    DailyPay is a covered person, 12 U.S.C. § 5481(6), as DailyPay engages in the

         offering or providing of a consumer financial product or service.

                140.    As set forth in the preceding paragraphs, DailyPay has engaged in repeated and

         persistent illegality through deceptive marketing and offering of Paycheck Advances in a manner

         that was likely to mislead a reasonable consumer, in violation of 12 U.S.C. § 5531 by:

                        a.      having falsely represented to employers and employees in marketing

         materials and that the DailyPay program was “no interest” or “interest free”;



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                        b.      having created inaccurate impressions that consumers can obtain funds

         immediately through Paycheck Advances without incurring costs; and

                        c.      having promoted Paycheck Advances as improving financial health and

         wellbeing without a factual basis and while projecting future dependency.

                141.    By reason of the conduct set forth herein, DailyPay has engaged in repeated and

         persistent illegality in violation of Executive Law § 63(12).

                                        EIGHTH CAUSE OF ACTION
                                       Executive Law § 63(12) (Illegality)
                                 (12 U.S.C. § 5531 – Abusive Acts or Practices)

                142.    New York’s Executive Law § 63(12) authorizes the OAG to seek injunctive and

         other relief when any individual or entity engages in repeated and persistent illegal conduct in the

         carrying on, conducting, or transacting of business in the state of New York.

                143.    The Consumer Financial Protection Act, 12 U.S.C. § 5531, prohibits a covered

         person from engaging in abusive acts or practices in connection with any transaction for a

         consumer financial product or in the offering of a consumer financial product.

                144.    DailyPay is a covered person, 12 U.S.C. § 5481(6), as DailyPay engages in the

         offering or providing of a consumer financial product or service.

                145.    Employers likewise are covered persons, 12 U.S.C. §§ 5481(6)(B), (15)(A)(i),

         (26)(A), as they broker financial products or services and provide services to DailyPay.

                146.    As set forth in the preceding paragraphs, DailyPay has engaged in repeated and

         persistent illegality through abusive acts and practices in connection with its offering Paycheck

         advances, including acts and practices that: (i) materially interfere with employees’ ability to

         understand the terms and conditions of obtaining Paycheck Advances; (ii) take unreasonable

         advantage of employees’ inability to protect their own interests in the selection of Paycheck



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         Advances; and (iii) take unreasonable advantage of employees’ reasonable reliance on their

         employers in connection with their selection and use of Paycheck Advances.

                147.    By reason of the conduct set forth herein, DailyPay has engaged in repeated and

         persistent illegality in violation of Executive Law § 63(12).

                                             PRAYER FOR RELIEF

                WHEREFORE, Petitioner the People of the State of New York respectfully request that

         the Court grant the Verified Petition in all respects by issuing an order and judgment:

                a.     permanently enjoining Respondent from violating Executive Law § 63(12),

                       General Business Law (“GBL”) §§ 349 and 350, General Obligations Law §

                       5-501, Penal Law § 190.40, Personal Property Law § 46-F, and the federal

                       Consumer Financial Protection Act, 12 U.S.C. § 5531 et seq., and from

                       engaging in the fraudulent, deceptive, or abusive acts or practices described

                       herein, including by enjoining Respondent from offering Paycheck Advances

                       that incur fees above the rates prescribed by New York law and requiring clear

                       and conspicuous disclosure of all fees in equal prominence in Respondent’s

                       advertising of its Paycheck Advance program;

                b.     ordering Respondent to provide an accounting of all consumers who paid

                       costs in excess of that permitted under General Obligations Law § 5-501,

                       Penal Law § 190.40, Personal Property Law § 46-F, in connection with

                       advances that were obtained from Respondent from the end of the Data Period

                       to the date of the Court’s order and judgment;

                c.     ordering Respondent to provide restitution and damages to all affected

                       consumers from the beginning of the Data Period to the date of the Court’s

                       order and judgment, whether known or unknown;
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               d.   ordering Respondent to disgorge all profits resulting from the fraudulent and

                    illegal acts or practices described herein;

               e.   ordering Respondent to pay a civil penalty in the sum of $5,000 to the State

                    of New York for each violation of GBL Article 22-A, G.B.L. § 350-d;

               f.   imposing appropriate civil money penalties against Respondent as authorized

                    by 12 U.S.C. § 5565(c);

               g.   awarding costs under CPLR 8303(a)(6) and 12 U.S.C. § 5565(c); and

               h.   granting such other and further relief as the Court deems just and proper.




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         Dated: April 14, 2025
                New York, New York

                                            Respectfully submitted,

                                            LETITIA JAMES
                                            Attorney General of the State of New York



                                                By:
                                                Christopher L. Filburn
                                                Assistant Attorney General
                                                Bureau of Consumer Frauds & Protection
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                                                Bureau Chief

                                                Laura J. Levine
                                                Deputy Bureau Chief

                                                Counsel for Petitioner People
                                                of the State of New York




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                                                                        VERIFICATION


         STATEOFNEWYORK                            )
                                                   ):ss.:
         COUNTYOFNEWYORK )
                  CHRISTOPHER
                            L. FILBURN, being duly sworn, deposes and says:


                  I    aman Assistant       Attorney General in the NewYork State Office of the Attomey General,

         Bureau of Consumer Frauds and Protection.                              I   amduly authorized        to   make this        verification.


                  I    have read the foregoing          Verified           Petition      and know the contents          thereof,      which        are to   my
         knowledge       true,   except as to matters therein stated to be alleged                          upon information               and belief,      and

         as to those matters,       I   believe   them to be true. The grounds for                         my beliefs     as to all matters              stated


         upon information          and belief     are investigatory                   materials   contained       in the files       of the Bureau of

         Consumer Frauds and Protection                     in the      New York State Office              of the Attorney General.

                  The reason this        verification            is   not made by Petitioner         is   because Petitioner          is   a body politic,

         and Letitia     James, the Attomey General,                      is   the Petitioner's     duly authorized        representative.




                                                                                           CHRISTOPHER
                                                                                                     L. FILBURN
                                                                                              Assistant    Attomey General

          Sworn to before methis
          14th day of April,       2025
                 KRISTIN LIUANAMANZUR
              Notary Public, State of New York
               Qualified  in Richmond County
                      No. 01MA6318068
            Commission Exprres January 20, 20.               .



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         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF NEW YORK

         PEOPLE OF THE STATE OF NEW YORK,
         by LETITIA JAMES, Attorney General of the State of
         New York,
                                                                        NOTICE OF PETITION
                                 Petitioner,
                                                                        Index No. ___________
                - against -

         DAILYPAY, INC.,

                                 Respondent.



                PLEASE TAKE NOTICE that upon the accompanying Verified Petition of Letitia James,

         Attorney General of the State of New York, on behalf of the People of the State of New York, the

         supporting Affirmation of Christopher L. Filburn dated April 14, 2025, all exhibits thereto, and

         the accompanying Memorandum of Law, an application will be made at the Supreme Court of the

         State of New York, County of New York, at 60 Centre Street, New York, NY 10007, on the 8th

         day of May at 9:30 a.m., or as soon thereafter as counsel can be heard, for an order and judgment

         under New York Executive Law § 63(12):

                a.    permanently enjoining Respondent from violating Executive Law § 63(12),

                      General Business Law (“GBL”) §§ 349 and 350, General Obligations Law §

                      5-501, Penal Law § 190.40, Personal Property Law § 46-F, and the federal

                      Consumer Financial Protection Act, 12 U.S.C. § 5531 et seq., and from

                      engaging in the fraudulent, deceptive, or abusive acts or practices described

                      herein, including by enjoining Respondent from offering advances that incur

                      fees above the rates prescribed by New York law and requiring clear and




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                      conspicuous disclosure of all fees in equal prominence in Respondent’s

                      advertising of its advance program;

                b.    ordering Respondent to provide an accounting of all consumers who paid

                      costs in excess of that permitted under General Obligations Law § 5-501,

                      Penal Law § 190.40, Personal Property Law § 46-F, in connection with

                      advances obtained from Respondent from the end of the Data Period, as

                      defined in the Verified Petition, to the date of the Court’s order and judgment;

                c.    ordering Respondent to provide restitution and damages to all affected

                      consumers from the beginning of the Data Period to the date of the Court’s

                      order and judgment, whether known or unknown;

                d.    ordering Respondent to disgorge all profits resulting from the fraudulent and

                      illegal acts or practices described in the Verified Petition;

                e.    ordering Respondent to pay a civil penalty in the sum of $5,000 to the State

                      of New York for each violation of GBL Article 22-A, G.B.L. § 350-d;

                f.    imposing appropriate civil money penalties against Respondent as authorized

                      by 12 U.S.C. § 5565(c);

                g.    awarding costs under CPLR 8303(a)(6) and 12 U.S.C. § 5565(c); and

                h.    granting such other and further relief as the Court deems just and proper.

                PLEASE TAKE FURTHER NOTICE that, pursuant to CPLR 403(b), answering and

         supporting papers in opposition to the application, if any, shall be served upon the undersigned no

         later than seven (7) days prior to the return date of the Verified Petition.




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         Dated: April 14, 2025                  LETITIA JAMES
                                                Attorney General of the State of New York



                                                By:
                                                Christopher L. Filburn
                                                Assistant Attorney General
                                                Bureau of Consumer Frauds & Protection
                                                28 Liberty Street, 20th Floor
                                                New York, New York 10005
                                                Tel.: 212.416.8303
                                                Email: christopher.filburn@ag.ny.gov


                                                Of counsel:

                                                Jane M. Azia
                                                Bureau Chief

                                                Laura J. Levine
                                                Deputy Bureau Chief




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         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF NEW YORK

         PEOPLE OF THE STATE OF NEW YORK,
         by LETITIA JAMES, Attorney General of the State of
         New York,

                                  Petitioner,
                                                                          Index No. ___________
                - against -

         DAILYPAY, INC.,

                                  Respondent.


                              AFFIRMATION OF CHRISTOPHER L. FILBURN
                                IN SUPPORT OF THE VERIFIED PETITION

                CHRISTOPHER L. FILBURN, an attorney duly admitted to practice before the courts of

         the State of New York, affirms the following under penalty of perjury:

                1.      I am an Assistant Attorney General in the New York State Office of the Attorney

         General (the “OAG”). I am assigned to the Bureau of Consumer Frauds and Protection. I submit

         this Affirmation in support of the Verified Petition and the relief sought therein.

                2.      I am familiar with the facts set forth in this Affirmation, which are based upon

         information contained in the investigative files of the Bureau of Consumer Frauds and Protection

         within the OAG and which I believe to be true and correct.

                3.      During the OAG’s investigation, Respondent produced to the OAG excel data files

         containing transaction-level data. The data files were analyzed and findings were made by the

         OAG’s Research and Analytics Department, as described in the Expert Affidavit of Akram

         Hasanov, a true and correct copy of which is attached as Exhibit 1. The data files are not included

         with the Verified Petition, as paper copies would be voluminous and would contain personal

         financial information, but are available from the OAG at the Court’s request.




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                4.     Attached as Exhibit 2 is a true and correct copy of excerpts of the sworn testimony

         of Jane Levine, Respondent’s corporate representative, taken before the OAG.

                5.     Attached as Exhibits 3 through 5 are true and correct copies of different versions of

         DailyPay Program Terms produced by Respondent to the OAG as follows:

                     Exhibit                    Effective Date                    Beginning Bates
                       3                       December 16, 2020                    DP000214
                       4                         May 1, 2023                        DP000470
                       5                       November 9, 2023                     DP000462

                6.     Attached as Exhibit 6 is a true and correct copy of a template for the DailyPay

         Master Services Agreement that is entered into between DailyPay, Inc. and employers, which was

         produced by Respondent to the OAG with beginning Bates DP000222.

                7.     Attached as Exhibits 7 through 16 are true and correct copies of documents

         produced by Respondent to the OAG beginning with the following Bates numbers:

                                    Exhibit                      Beginning Bates
                                      7                            DP000001
                                      8                            DP000120
                                      9                            DP000139
                                      10                           DP000142
                                      11                           DP000253
                                      12                           DP000279
                                      13                           DP000483
                                      14                           DP001583
                                      15                           DP001622
                                      16                           DP001668

                8.     Attached as Exhibit 17 is a true and correct copy of excerpts of a document

         produced by Respondent to the OAG beginning with Bates DP002179.

                9.     Attached as Exhibits 18 through 32 are true and correct copies of advertisements

         produced by Respondent to the OAG beginning with the following Bates numbers:

                                    Exhibit                      Beginning Bates
                                      18                           DP000108
                                      19                           DP000109

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                                         20                           DP000112
                                         21                           DP000117
                                         22                           DP000118
                                         23                           DP000123
                                         24                           DP000126
                                         25                           DP000130
                                         26                           DP000131
                                         27                           DP000132
                                         28                           DP000133
                                         29                           DP000135
                                         30                           DP000156
                                         31                           DP000160
                                         32                           DP000204

                10.     During the OAG’s investigation, Respondent produced to the OAG an

         advertisement in graphic interchange format, or GIF, at Bates beginning DP000141. In the GIF

         advertisement, screenshots of DailyPay, Inc.’s app are shown in which a user obtains $100, selects

         the “Now” delivery option, and states that the reason was to pay a bill. The GIF advertisement

         does not display any fee. Screenshots of the relevant portions of the GIF advertisement are attached

         as Exhibits 33 to 35. The complete GIF is available from the OAG at the Court’s request.

                11.     During the OAG’s investigation, Respondent produced to the OAG an excel data

         file containing then-current fee structures of employers who contracted with DailyPay, Inc. The

         excel file was accompanied by a slip sheet with Bates beginning DP000392. Attached as Exhibit

         36 is a true and correct copy of a printout of the worksheet in that excel file. The printout was

         formatted for printing but is otherwise substantively unchanged from the excel file.

                12.     During the OAG’s investigation, Respondent produced to the OAG an excel data

         file containing data underlying a report titled “DailyPay Use and Outcomes” by AiteNovarica and

         commissioned by DailyPay, Inc. The report is among the documents produced by Respondent to

         the OAG and is attached as Exhibit 11, as noted above. I reviewed the data file and it contains

         responses from twenty-four (24) individuals with indicated states of residence of New York. The


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         data file is not included with the Verified Petition, as a paper copy would be voluminous and would

         contain personal identifying information, but is available from the OAG at the Court’s request.

                13.      On July 18, 2024, the federal Consumer Financial Protection Bureau published on

         its website a report titled: “Data Spotlight: Developments in the Paycheck Advance Market.” As

         of   the     date   of   execution   of   this     Affirmation,    that   report    is   available    at

         https://www.consumerfinance.gov/data-research/research-reports/data-spotlight-developments-

         in-the-paycheck-advance-market/. Attached as Exhibit 37 is a pdf printout of that report.

                14.      Attached as Exhibits 38 through 44 are true and correct copies of printouts from

         websites and other publicly available documents, as follows:

              Exhibit                    Title                      Available At             Date Accessed
                38                DailyPay – Overview              DailyPay Website          July 26, 2024
                39                DailyPay – About Us              DailyPay Website          July 26, 2024
                40                  DailyPay – EWA                 DailyPay Website          July 26, 2024
                41                  D&B – Analytics                 D&B Website              July 25, 2024
                42                D&B – Failure Score               D&B Website              July 25, 2024
                43                D&B – Viability Score             D&B Website              July 25, 2024
                44                TCH Uniform Pricing               TCH Website             February 7, 2025

         Dated: April 14, 2025
                New York, New York



                                                             Christopher L. Filburn
                                                           Assistant Attorney General




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                                               CERTIFICATION

                CHRISTOPHER L. FILBURN, an attorney duly admitted to practice before the courts of

         the State of new York, affirms the following under penalty of perjury:

                1.     I am an Assistant Attorney General in the New York State Office of the Attorney

                       General. I am assigned to the Bureau of Consumer Frauds and Protection.

                2.     The foregoing Affirmation complies with the word count limit set forth in Rule

                       202.8-b, as it contains 867 words excluding the parts exempted by the Rule, as

                       indicated by the “Word Count” feature of Microsoft Word.

         Dated: April 14, 2025
                New York, New York



                                                         Christopher L. Filburn
                                                       Assistant Attorney General




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                            EXHIBIT 1
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                               EXPERT AFFIDAVIT OF AKRAM HASANOV

         STATE OF NEW YORK                     )
                                               ) ss:
         COUNTY OF NEW YORK                    )

         AKRAM HASANOV, being duly sworn, deposes and says:

                1.      I am a Data Scientist in the Research and Analytics Department in the Executive

         Division of the New York State Office of the Attorney General (the “OAG”).

                2.      As part of the OAG’s investigation into the business practices of DailyPay, Inc.

         (“DailyPay or “the Company”), counsel in the OAG’s Bureau of Consumer Frauds and Protection

         has asked me to analyze certain data produced by DailyPay in the investigation.

         I.     PROFESSIONAL CREDENTIALS

                3.      In my position as a Senior Data Analyst I lead, assist, and support a wide variety of

         investigations and cases, including, but not limited to, those in the areas of consumer frauds and

         protection, investor protection, financial fraud, civil rights, and housing. I have been frequently

         called upon to conduct mathematical and statistical analyses.

                4.      In 2010, I graduated with degrees in Finance from the University of Louisiana

         Monroe. I previously worked at the OAG from 2013 to 2015 as a Financial Research Analyst. I

         have also worked at a consulting firm and in a position in New York City government. I rejoined

         the OAG’s Research & Analytics Department in February 2019.

         II.    DATA RECEIVED AND ASSIGNMENT FROM COUNSEL

                5.      Counsel has explained to me that DailyPay offers “Paycheck Advances” to New

         York-based employees under which the Company will send requested funds to employees and

         collect those funds, plus fees, from employees’ paychecks on the subsequent payday.
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                6.     In connection with the OAG’s investigation of DailyPay, I have reviewed two excel

         files provided to the OAG containing New York transaction-level data for Paycheck Advances,

         DP000446 and DP000447. These files contain data for millions of Paycheck Advance transactions

         occurring between October 1, 2020 and December 31, 2024 (referred to herein as the “Data

         Period”), including columns for the following data points for each transaction: USER_ID; First

         Name; Last Name; Full Street Address; Phone Number; Email; PROVIDER_GROUP_ID;

         PAYMENT_ID;        Paid   On    Date;    Payment    Receipt    Date;   TRANSFER_AMOUNT;

         FEE_AMOUNT; TRANSFER_CT; TIME_PERIOD (hereinafter, the “Transaction Data”).

                7.     I also have reviewed excerpts of the transcript of testimony of Jane Levine, a

         DailyPay representative. Based on my review, it is my understanding that certain of the above-

         referenced data points contain the following information about each transaction:

                       a.      USER_ID: A unique identifier assigned to each DailyPay user that
                               can be used to identify all Paycheck Advances obtained by that user;

                       b.      PROVIDER_GROUP_ID: A unique identifier assigned to each
                               employer that contracts to offer Paycheck Advances;

                       c.      Paid On Date: The date on which DailyPay transfers funds to an
                               employee that requested a Paycheck Advance;

                       d.      Payment Receipt Date: The date on which DailyPay collects funds
                               it sends to employees, plus fees, from employees’ paychecks;

                       e.      TRANSFER_AMOUNT: The amount of money DailyPay sends to
                               an employee on the Paid On Date; and

                       f.      FEE_AMOUNT: The amount of money DailyPay collects, along
                               with the TRANSFER_AMOUNT, on the Payment Receipt Date.

                8.     I also have reviewed an excel file provided to the OAG containing all amounts that

         the Company did not collect on its New York Paycheck Advances but instead wrote off during the

         Data Period, including columns for the following data points: USER_ID; PAYMENT_ID; Paid

         On; WRITE_OFF_TOTAL (hereinafter, the “Loss Data”).

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                9.      Based on my review of excerpts of the testimony of Jane Levine, a representative

         of DailyPay, it is my understanding that certain of the above-referenced data points contain the

         following information about each transaction:

                        a.     USER_ID: A unique identifier assigned to each DailyPay user that
                               can be used to identify all Paycheck Advances obtained by that user;

                        b.     Paid On: The date on which DailyPay transfers funds to an employee
                               that requested a Paycheck Advance, equivalent to the “Paid On
                               Date” referred to in the transaction-level data files; and

                        c.     WRITE_OFF_TOTAL: The amount of money DailyPay no longer
                               intends to collect from the employee.

                10.     Based on data derived from the materials identified above, I calculated a number of

         aggregate, average, and median statistics, which are set forth below.

                11.     I also have performed certain calculations on the data, including calculations of

         annualized percentage rates, or APRs, as described and set forth below.

                12.     I also have identified both employees who obtain Paycheck Advances on average

         within certain intervals of time and transactions that occur within certain intervals of time from

         other transactions by the same employees, and to perform similar calculations on these subsets, all

         of which is described and set forth below.

         III.   AGGREGATE, AVERAGE, AND MEDIAN STATISTICS

                13.     Based on the Transaction Data, during the Data Period, which is from October 1,

         2020 to December 31, 2024, DailyPay made 9,860,161 Paycheck Advances. In connection with

         these Paycheck Advances, DailyPay sent a total of $1,082,054,584.86 to employees. DailyPay

         collected $27,615,814.20 in fees from these Paycheck Advances, and collected a total of

         $1,109,670,399.06, the sum of both amounts advanced and fees, from employees.

                14.     The amount of funds advanced and fees collected by DailyPay is accelerating. For

         example, the Company advanced $114,829,275.59 and collected $3,352,274.34 in fees during the

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         first 18 months of the Data Period. By contrast, the Company advanced $373,723,631.67 and

         collected $9,087,504.78 in fees during the final 9 months of the Data Period.

                15.           DailyPay collected fees on more than 88.6% of its Paycheck Advances during the

         entire Data Period. This percentage has remained stable over time: The Company collected fees

         on more than 91.4% of its Paycheck Advances during the first six months and collected fees on

         more than 85% of its Paycheck Advances during the last nine months of the Data Period.

                16.           DailyPay made a Paycheck Advance to 134,754 unique New York employees

         during the Data Period. The Company made an average of 2.33 Paycheck Advances per week to

         each employee. And the frequency of Paycheck Advances per-employee has steadily increased,

         from 2.07 per week during the first six months of the Data Period to 2.86 per week in the final

         three months, as reflected in the chart below, which is separately appended hereto as Exhibit A:

                                                   Average Paycheck Advances Per Week

                                                                                                      2.86


                 2.8
                                                                                               2.71

                                                                           2.65
                                                                                        2.61
                 2.6
                                                     2.53


                                                                 .43

                 2.4
                                    2.33    2.33




                 2.2


                       2.07




                17.           DailyPay’s worker base is rapidly growing. In total, 10,756 employees obtained a

         Paycheck Advance during the first six months of the Data Period, while 50,251 employees

         obtained a Paycheck Advance between April 1, 2024 and September 30, 2024.


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                18.     DailyPay did not collect $22,522.27 on Paycheck Advances made during the Data

         Period. The Loss Data does not indicate whether $22,522.27 is the Company’s non-collection of

         amounts advanced, of fees, or of all amounts owed. If the Loss Data reflects non-collection of fees

         only, DailyPay collected nearly 99.92% of all fees. If the Loss Data reflects non-collection of all

         amounts owed, DailyPay collected more than 99.99% of all amounts owed.

         IV.    ANNUALIZED PERCENTAGE RATES

                                                 Calculation of APR

                19.     An interest rate is the cost paid to a lender for borrowing money. The higher the

         rate, the more borrowers pay over the life of a loan. CFPB, What is the Difference between a Loan

         Interest Rate and the APR? (Jan. 30, 2024), available at https://www.consumerfinance.gov/ask-

         cfpb/what-is-the-difference-between-a-loan-interest-rate-and-the-apr-en-733/.

                20.     A common measure of interest is an APR, which expresses the interest rate as a

         percentage and reflects the cost of interest on an annualized basis. APR is calculated by dividing

         (i) the interest paid as a percentage of the principal lent by (ii) the number of years, or fraction of

         a year), over which the full amount of the loan is to be repaid.

                21.     An APR calculation on a loan that incurs interest daily can be expressed as follows:

                                             APR = ( I / P ) ÷ ( D / 365 )

         In the above calculation, APR is calculated by dividing the total interest payment, or I, by the

         amount lent or principal, P, and then dividing that by the number of days in the term of the loan,

         D, by 365, which is the number of total days in a year.

                22.     As a simple example, if a borrower receives $50 and agrees to pay back $55 five

         days later, the interest, or I, is $5, the principal, or P, is $50, and the number of days, or D, is 5.

         The APR is thus equal to (5/50) ÷ (5/365), which is 1/10 ÷ 1/73, which is 7.3 or 730% APR.



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                23.     In my analysis of the data provided by DailyPay, I treated TRANSFER_AMOUNT

         as the principal, or P, and the FEE_AMOUNT as the interest, or I, when calculating APRs from

         the Transaction Data. I also treated the number of days, or D, as the difference between the Paid

         On Date and the Payment Receipt Date when calculating APRs from the Transaction Data.

                24.     571 Paycheck Advances in the Transaction Data had Paid On Dates and Payment

         Receipt Dates that were the same, reflecting a term of less than one day. For all APR calculations

         herein, I treated the number of days, or D, for these Paycheck Advances as N/A. As a result, the

         APR statistics presented herein exclude these 571 Paycheck Advances entirely.

                                          APR Calculations on the Data

                25.     In the Transaction Data, the median amount advanced is $77.07, the median fee is

         $2.99, and the median number of days in the term is 8. An employee pays an APR of 193.5% on

         a Paycheck Advance for $77.07 with a $2.99 fee to be repaid in 8 days.

                26.     In the Transaction Data, the most frequent amount of a Paycheck Advance, fee, and

         number of days in the term is $20, $2.99, and 7, respectively. An employee pays an APR of

         756.07% on a Paycheck Advance for $20 with a $2.99 fee to be repaid in 7 days.

                27.     Across the entirety of the Transaction Data, the median APR employees paid is

         193.47%, while the average APR employees paid is 398.59%.

                28.     The most common combination of advance amount and fee in the Transaction Data

         is an advance between $25 and $50 and a fee of $2.99 or, for more recent periods, a fee of $3.49.

         More than 1.1 million Paycheck Advances fall within this bucket, representing 11.31% or one in

         every nine during the Data Period. It also is the first- or second-most common combination for

         each six-month period. The median APR on these Paycheck Advances with amounts advanced

         between $25 and $50 and fees of $2.99 or $3.49 was above 400%.



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                29.    For all Paycheck Advances in the Transaction Data for which a fee was collected,

         93% of the Paycheck Advances had an APR in excess of 50%. More than 85% of all fee-based

         Paycheck Advances had APRs between 50% and 1000%, and the range of APRs is distributed as

         in the chart below, which is separately appended hereto as Exhibit B:

                                                   All Fee Transactions   by APRCategory
                                16.7%

                                         15.4%


                 14


                                                   12.0%
                 12                                                                                      11.4%


                 10

                                                                8.6%
                                                                                                                   8.3%

                        7.3%

                                                                           6.2%

                                                                                               5.2%


                  4


                  2




                         0-50   50-100   100-150   150-200     200-250   250-300    300-400   400-500   500-1000   1000+
                                                                  APRCategory



                30.    At its highest, APRs on Paycheck Advances reached 25,477%, with employees

         paying APRs in excess of 500% on more than 19% of all Paycheck Advances.

                31.    Across the Transaction Data for the Data Period, 8,700,148 or 88% of all Paycheck

         Advances, had APRs in excess of 16%. In total, employees paid $24,366,911.52 in fees on these

         Paycheck Advances. And for all Paycheck Advances for which a fee was collected, nearly 99.5%

         of such Paycheck Advances had APRs in excess of 16%.

                32.    Across the Transaction Data for the Data Period, 8,686,222 or 88% of all Paycheck

         Advances, had APRs in excess of 18%. In total, DailyPay collected $24,327,908.32 in fees on

         these Paycheck Advances. And more than 99.3% of Paycheck Advances for which a fee was

         collected had APRs in excess of 18%.


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                33.     Across the Transaction Data for the Data Period, 8,601,189 or 87% of all Paycheck

         Advances, had APRs in excess of 25%. In total, employees paid $24,089,752.42 in fees on these

         Paycheck Advances. And for all Paycheck Advances for which a fee was collected, more than

         99.3% of such Paycheck Advances had APRs in excess of 25%.

         V.     PAYCHECK ADVANCE USAGE ANALYSES

                34.     To assess frequency of Paycheck Advance use, I examined both (i) how often each

         employee, on average, obtained a Paycheck Advance and (ii) how often an employee obtained a

         Paycheck Advance within a certain period of time since the last Paycheck Advanced.

                35.     For the first assessment, I used USER_ID in the Transaction Data to identify the

         first and last date on which each employee obtained a Paycheck Advance. For employees who

         obtained more than 10 Paycheck Advances during the Data Period, I then calculated the number

         of weeks over which each employee obtained Paycheck Advances. I then counted the total number

         of Paycheck Advances each employee obtained to calculate a P for each employee, where P

         represents the average number of Paycheck Advances the employee obtained each week. For

         example, if there were 20 weeks between an employee’s first and last Paycheck Advance and the

         employee obtained 30 Paycheck Advances in total, the employee’s P would equal 1.5.

                36.     For the second assessment, I again used USER_ID in the Transaction Data to order

         all Paycheck Advances obtained by each employee by date. For each employee, I then determined

         the set of all Paycheck Advances that were obtained within X days of a prior Paycheck Advance.

         For example, if an employee obtained Paycheck Advances on May 1, May 4, May 5, May 8, and

         May 10, and X was set to 2, then the Paycheck Advances obtained on May 5 and May 10 would

         be part of the set of Paycheck Advances obtained within two days of the last.




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                37.     The Transaction Data reflects that a number of employees obtained more than one

         Paycheck Advance on the same day. In these cases, I treated the first Paycheck Advance listed in

         the file as an original Paycheck Advance that was not obtained within X number of days since the

         last (unless the Transaction Data included another Paycheck Advance that the employee obtained

         X or fewer days earlier), and all other Paycheck Advances on that day as part of the set.

                                           Analyses of Frequent Users

                38.     I evaluated both employees with Ps 2 or greater, referred to as “Biweekly Users,”

         and employees with Ps 3.5 or greater, referred to as “Frequent Users”.

                39.     For the first six months of the Data Period, more than half of all employees who

         obtained a Paycheck Advance did not average more than two per week. And across the entire Data

         Period, more than 70% of employees were not Frequent Users.

                40.     In more recent periods, more than half of employees are Biweekly Users. In the

         final nine months of the Data Period, these more than 20,000 Biweekly Users made up more than

         55% of all employees who obtained Paycheck Advances from DailyPay.

                41.     Employees who are not Biweekly Users or Frequent Users obtain a few Paycheck

         Advances, often during short periods, and then and do not continue to obtain Paycheck Advances

         over time. The median number of advances obtained by such employees is 13, and the number of

         days between such employees’ first and last Paycheck Advance is 127.

                42.     DailyPay’s fees are concentrated among employees who become Biweekly Users

         or Frequent Users. Biweekly Users accounted for more than 77% of all fees collected by DailyPay

         in the Data Period. DailyPay’s 23,348 Biweekly Users generated more than $4.5 million in fees,

         representing nearly 80% of fees collected by DailyPay from April 1 to September 30, 2024.




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                43.          The cost of credit borne by employees grows as they become Biweekly Users and

         then Frequent Users. Biweekly Users pay a median APR of 202.20% on their Paycheck Advances,

         as compared to a median APR of 193.47% paid all employees across the entire Transaction Data.

         And the median APR paid by Frequent Users jumps to 227.64%.

                44.          Similarly, for the ten percent of DailyPay users who have the highest average

         frequency of Paycheck Advances, the median size of the Paycheck Advance was $50, the median

         fee was $2.99, and the median term was 9 days. An individual Paycheck Advance with these

         particular characteristics would carry an APR of more than 242.5%. And these ten percent of users

         obtain a new Paycheck Advance on average 5.7 times each week.

                45.          DailyPay’s Frequent User base steadily grew throughout the Data Period, both in

         absolute and relative terms. As shown in the charts below, which are separately appended hereto

         as Exhibits C and D, during the first six months of the Data Period, the Company had 1,255

         Frequent Users, representing 16.15% of all employees, while in the final three months of the Data

         Period, the Company had 10,240 Frequent Users, representing 27.71% of all employees:

                                                             Frequent Users Over Six-Month Period
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                                                                     Frequent Users Over Six-Month Period
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                46.                   While Frequent Users continue to make up approximately a quarter of employees

         who obtain Paycheck Advances, because of their frequent use they generate a large portion of the

         total fees that DailyPay collects. As shown in the chart below, which is separately appended hereto

         as Exhibit E, the percentage of DailyPay’s total fee collections that are attributable to Frequent

         Users has steadily grown from less than a third of all fees to nearly half of all fees:

                                                               Revenue by Frequent Users Over Six-Month Period
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         In the final nine months of the Data Period alone, DailyPay collected $4,265,820.98 in fees from

         its 21,252 Frequent Users, reflecting an average of $200.73 per Frequent User. This would reflect

         an annual average of $267.64 that DailyPay collects from each Frequent User.

                                        Analyses of Repetitive Transactions

                47.     When assessing Paycheck Advances that employees obtained within a certain

         number of days since the employees obtained their last Paycheck Advance, I evaluated both

         Paycheck Advances obtained within 4 days and 2 days of the last advance.

                48.     Most Paycheck Advances fall within one or both of these sets. Over the Data

         Period, nearly three in every four Paycheck Advances obtained by an employee was obtained

         within four days of that employee’s last Paycheck Advance, while nearly three in every five

         Paycheck Advances was obtained by an employee within two days of the last advance.

                49.     Because these Paycheck Advances are being obtained repeatedly within the same

         pay period, repeat advances are likely to have shorter terms and carry higher costs of credit. For

         example, the median APR for Paycheck Advances obtained by employees within two days of their

         last Paycheck Advance is 219.15%. And the most common advance amounts for these repeat

         advances are between $25 to $50, with fees, reflecting APRs in excess of 450%.

                50.     As with Biweekly Users and Frequent Users, DailyPay collects the bulk of its fee

         revenue from repeat advances. As shown in the chart below, which is separately appended hereto

         as Exhibit F, the percentage of DailyPay’s total fees attributable to Paycheck Advances employees

         obtain within four days of their last paycheck has steadily grown to more than 80% of all fees, and

         the percentage of DailyPay’s total fees attributable to Paycheck Advances employees obtain within

         two days of their last has grown to more than two-thirds of all fees:




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